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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                           Case No. 18-cr-00028 (EGS)
 JARRELL HARRIS,


                Defendant.


       THE DISTRICT OF COLUMBIA’S STATUS REPORT IN RESPONSE TO
              THE COURT’S OCTOBER 16, 2018 MINUTE ORDER

       The District of Columbia Department of Corrections (DOC) responds to the Court’s

October 16, 2018 Minute Order, which directed DOC “to file notice updating the Court regarding

the status of the Moss Report and when the Report will be finalized[.]”

       DOC received a draft report from The Moss Group (TMG) on October 1, 2018. DOC has

reviewed the draft report and provided comments to TMG today, October 17, 2018, and DOC will

continue to consult with TMG prior to the issuance of the final report, which is scheduled for

October 30, 2018.


Dated: October 17, 2018.           Respectfully submitted,

                                   KARL A. RACINE
                                   Attorney General for the District of Columbia

                                   TONI MICHELLE JACKSON
                                   Deputy Attorney General
                                   Public Interest Division

                                   /s/ Fernando Amarillas
                                   FERNANDO AMARILLAS (#974858)
                                   Chief, Equity Section
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